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                        U M TE D STA TE S D ISTR IC T C O U R T
                                               Southern DistrictofFlorida
                                                       M iamiDivision

UNITED STATES OF AM ERICA                                               JUDGM ENT IN A CRIM INAL CASE
                                                                        CaseNumber:12-20496-CR-M ARTIN EZ
                                                                        USM Number:98219-004
                                                                        CounselForDefendant: SamuelRandall
  THOM AS PATRICK KEELAN                                                CotmselForTheUnitedStates: RoyAltman
                                                                        CourtReporter;DawnW hitmarsh


  Tlledefendantwasfound guiltyoncountts)1and 2oftheIndictment.
  Thedefendantisadjudicatedguiltyoftheseoffenses:
 TITLE & SECTION                   NATURE O F OFFENSE                                              O FFENSE
                                                                                                   ENDED                   CO UNT
                                                              -   - -          -         - - ..-       --   - - -- - - ,

 18U.S.
      C.j
        '2422(1$                   enticementofaminortoengageinsexualactivity                      t 2011                  1       --

 18U.S.C.j24-22(1$        -   .
                                   enticementofaminortoengageinsexualactivity                      06/16/2012              2

  Thedefendantissentencedasprovidedinthefollowingpagesofthisjudgment.ThesentenceisimposedpursuanttotheSentencing
  Reform Actof1984.
  Itisordered thatthe defendantm ustnotify theUnited States attorney forthisdistrictw ithin 30 daysofany change ofname,
  residence,ormailinjaddressuntilallGnes,restitution,costs,andspecialassessmentsimposedbythisjudgmentarefullypaid.lf
   ordered to pay restltution,the defendantm ustnotify the courtand United States attorney ofm aterialchangesin econom ic
   circumstances.


                                                                                      Ixt
                                                                                        eofImpositionorseutertce: 4/11/2013


                                                                                                   V


                                                                                      Jos .M artinez
                                                                                      Un' d StatesDistrictJudge

                                                                                                       >           /5
                                                                                      Datt:
Case 1:12-cr-20496-JEM Document 114 Entered on FLSD Docket 04/15/2013 Page 2 of 6
USDCFLSD2458(Rev.09/08)-JudymentinaCri
                                     minalCast                                                           Page2of6

DEFENDANT:THOM AS PATRICK KEELAN
CA SE NUM BER:12-20496-CR-M ARTINEZ

                                                 IM PRISON M ENT
 Thedefendantisherebycom mittedtothecustodyoftheUnited StatesBureauofPrisonstobeimprisoned foratotalterm of200
 m onths.Thissentenceconsists oftermsof200 m onthsasto each ofCountsOneand Two.to be served concurrently.
 The court makesthefollow ing reeom m endationsto the Bureau ofPrisons:
 The defendant shallbe assigned to a facility at FCI M cK ean,in NorthwestPennsylvania,or FC1 Otisville,in New York
 com m ensuratewith hisbackground and the offense ofwhich Ilestandsconvicted.
 Thedefendantis rem anded tothe custody oftheUnited StatesM arshal.

                                                      RETURN
  lhaveexecutedthisjudgmentasfollows:




  Defendantdelivered on                                            to

  at                            .                ,withacertitledcopyofthisjudgment.



                                                                             UNITED STATES M ARSHAL


                                                                             DEPUTY UNITED STATES M ARSHAL
Case 1:12-cr-20496-JEM Document 114 Entered on FLSD Docket 04/15/2013 Page 3 of 6
USDCFLSD2458(Rev.09708)-Judgmenti
                                naCri
                                    minalCAse                            Paye3of6

DEFENDAN T:THOM AS PATRICK K EELAN
CA SE NUM BER:1> 20496-CR-M ARTINEZ
                                                 SUPERVISED RELEA SE
Uponreleasefrom im prisonment,thedefendantshallbeonsupervisedreleaseforaterm of25years,astoeach ofCountsO neand
Two,to beserved concurrently.
Thedefendantmustreportto the probation office in the districtto which the defendantisreleased within 72 hours ofreleasefrom the
custody oftheBureau ofPrisons.
Thedefendantshallnotcomm itanotherfederalsstateorlocalcrim e.
Thedefendantshallnotunlawfullypossessacontrolledsubstanee.Thedefendantshallrefrain from any unlawfuluseofacontrolled
substance.Thedefendantshallsubm itto onedrug testwithin 15daysofreleasefrom imprisonm entand atleastt
                                                                                                    'wo periodicdrug ttsts
thereafter,asdeterm inedbythecourt.
Thedefendantshallcomply withtherequirementsoftheSexOffenderRegistration andNotificationAct(42U.S.C.b 16901,
etseq.)asdirected bytheprobation officer,tlleBureau ofPrisons,orany statesexoffenderregistrationagencyinwhichheor
she resides.works,isa student,orwasconvicted ofa qualifying offense.
The defendantshallnotpossessa firearm ,am m unition,destructivedevice,or any other dangerousweapon.
The defendantshallcooperatein the collection ofDNA asdirected by theprobation officer.
Ifthisjudgmentimposesa tineorrestitution,itisaconditionofsupervisedrelease thatthe defendantpay in accordancewith the
ScheduleofPaymentssheetofthisjudgment.
Thedefendantmustcomplywiththestandardconditionsthathavebcenadoptedbythiscourtaswellaswithanyadditionalconditions
on theattached page.
                                   STANDA RD CON DITIO N S OF SU PERVISION
         Thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofticer;
         Thedefendantshallrepnrttotheprobationofficerand shallsubmitatruthfuland complttewrittenreportwithinthefirstfifteen daysof
         tac
         Thehdmo
              efenntd
                    ha
                     ;ntshallanswertruthfully a1linquiriesbytheprobation ofticerandfollûw theinstructionsoftheprobationofficer;
        The defendantshallsupporthisorherdependentsand meetotherfamilyresponsibilities:           .
        Thedefendantshallwork regularlyatalawfuloccupation,unlessexcusedbytheprobatlon officerforschooling,training,orother
        a ccept
        The   deafb
                  elnedareass
                         nt oha
                             nsl;lnotifytheprobationofficeratleasttendayspriorto any changeinresidenceoremployment;
         Thedefendantshallrefrain from excessiveuseofalcoholandshallnotpurchase,possess,use,distribute,oradministeranycontrolled
         substanceoranyparaphemaliarelatedto anycontrûlled substances,exceptasprescribedby aphysician;
         Thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold,used,distributed,oradministered;
         Thedefendantshallnotassociatewith anypersonsengagedin criminalactivity and shallnotassociatewithanyperson convictedofa
         felony,unlessgrantedpermissiontodo sobytheprobationofficer;
     10, Thedefendantshallpermitaprobationofficertovisithim orheratanytimeathomeorelsewhereand shallpermitcontiscationofany
         contrabandobservedin plain view oftheprobation officer'      ,
     11, Thedefendantshallnotifytheprobationofficerwithin seventy-twohoursofbeing arrestedorquestionedby alaw enforcementofticer;
     l2.Thedefendantshallnotenterintoany agreementtoactasaninformeroraspecialagentofalaw enforcemtntagency withoutthe
         permi
     13. As  dirs
                escitoendof
                         bytt
                            hheecpor
                                   uorba
                                      t;t
                                        ai
                                         n
                                         od
                                          n ofticer,thedefendantshallnotifythirdpartiesofrisksthatmaybeoccasionedbythedefendant'scriminal
         recordorpersonalhistoryorcharacteristicsandshallpermittheprobation ofticertemakesuchnotificationsandtocontirm thedefendant's
         compliancewith suchnotification requirement.
Case 1:12-cr-20496-JEM Document 114 Entered on FLSD Docket 04/15/2013 Page 4 of 6
USDCFLSD2458(Rev.09/08)-JudgnyntinaCri
                                     minalCase                           Paye4of6

DEFENDANT:THOM AS PATRICK KEELA N
CASE NUM BER:12-20496-CR-M ARTlNEZ
                                SPECIAL CONDITION S O F SUPER VISION
 A dam W alsh ActSearch Condition -Thedefendantshallsubm ittothe U.S.Probation O fficerconducting periodk
 unannouncedsearchesofthedefendant'sperson,property,house,residence,vehieles,papers,computerts),other
 electroniccommunication ordatastoragedevicesormedia,includeretrievalandcopyingofaIldatafrom thecomputerts)
 and any internalorexternalperipheralsand effectsatany tim e,with orwithoutwarrantby any Iaw enforcem entor
 probation officerw ith reasonable suspicion concerning unlawfulconductor aviolation ofa condition ofprobation or
 supervised release.Thesearch mayincludetheretrievaland copyingofaIIdatafrom thecompuferts)andanyinternalor
 externalperipheralsto ensure compliancew ith other supervision conditionsand/or rem ovalofsuch equipm entforthe
 purposeofconduetingamorethorough inspection;andtohaveinstalled on thedefendant'scomputerts),atthe
 defendant's expense,any hardware or software system sto m onitorthe defendant'scom puter use.
 FinancialDisclosure Requirem ent-Thedefendantshallprovidecom plete aecessto financialinform ation,including
 disclosureofaIIbusiness and personalfinances,to the U.S.Probation Officer.
 No Contactwith M inors-Thedefendantshallhave no personal,m ail.telephone,orcom puter contactw ith
 children/m inorsunderthe ageof18 orwith thevictim .
 NoContactwith M inorsin Employment-Thedefendantshallnotbeemployed inajob requiring contactwithchildren
 underthe age of18 orwith thevictim .
 No Involvementin Youth O rganizations-Thedefendantshallnotbeinvolved in any children'soryouth organization.
 N oNew DebtRestriction -The defendantshallnotapply for,solicitor incur any further debt,included butnotlimited to
 Ioans,linesofcreditorcreditcard charges,eitherasa principalorcosigner,as an individualor through any corporate
 entity,withoutfirstobtainingperm ission from the United StatesProbation Officer.
  Restricted from Possession ofSexualM aterials-The defendantshallnotbuy,sell,exchange,possess,trade.or produce
  visualdepictionsofminors or adultsengaged in sexually explicitconduct.Thedefendantshallnotcorrespond or
  comm unicate in person,by mail,telephone.or com puter,with individualsorcom paniesoffering to buy,sell,trade,
  exchange,or produce visualdepictionsofm inorsor adultsengaged in sexually explicitconduct.
  Sex Offender Registration -Thedefendantshallcom ply with therequirementsofthe Sex O ffenderRegistration and
  NotifieationAct(42U.S.C.b16901,etseq.)asdireded bytheprobationofficer,theBureau ofPrisons.oranystatesex
  offender registration agency in w hich heorsheresides,works,isa student,or wasconvicted ofa qualifying offense.

  Sex OffenderTreatm ent-Thedefendantshallparticipate in a sex offendertreatmentprogram to include psychological
  testing and polygraph exam ination.Participation m ay includeinpatient/outpatienttreatment,ifdeemed necessary by the
  treatmentprovider.Thedefendantwillcontributetothecostsofservicesrendered (co-payment)basedon ability topayor
  availability ofthird party payment.
Case 1:12-cr-20496-JEM Document 114 Entered on FLSD Docket 04/15/2013 Page 5 of 6
USDCFLSD 2458(Rev.09/08)-JudgmentinaCrimi
                                        nalCase                                                        Page5of6

DEFENDANT:THO M AS PATRICK KEELAN
CASE NUM BER:12-20496-CR-M ARTINEZ
                                       CRIM IN AL M O NETM W PENALTIES
 Thedefendantmustpaythetotalcriminalmonetarypenaltiesunderthescheduleofpaym entson Sheet6.
                                        Assessment              Fine                     Restitution
         TOTALS                           $200.00               $0.00                      $0.00

  Thedetermination ofrestitution isdeferred until4/18/2013.An Amended Judgmentin aCriminalCase(AO 24563willbe
  entered after such determ ination.
                                                                                       PRIORITY OR
 NAM E OF PAYEE                                      TOTA L LOSSW RESTITUTION O RDERED PERCENTAG E

  #Findingsforthetotalam ountoflossesarerequiredunderChapters109A,110,1IOA,and113A ofTitle18foroffensescom mitted
  on orafterSeptem berl3,1994,butbefore April23,1996.
Case 1:12-cr-20496-JEM Document 114 Entered on FLSD Docket 04/15/2013 Page 6 of 6
                                                                                                                Page6 of6
USDC FLSD 2458 (Rev.09/08)-JudgmentïnaCri
                                        minalCase             JJ               '' ''


DEFENDAN T:TH OM AS PATRICK KEELAN
CA SE NUM BER:12-20496-CR-M ARTINEZ
                                               SCH EDU LE OF PAYM ENTS
 H avingassessedthedefendant'sabilitytopay,paymentofthetotalcrim inalmonetarypenaltiesisdueasfollows:
  A.Lum p:um paym entof$200.00dueimm ediately.
  Unlessthecourthasexpresslyorderedotherwise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetarypenaltiesis
  dueduring imprisonment.A11criminalmonetary penalties,exceptthosepaymentsmadethroughthe FederalBureauofPrisons'
  InmateFinancialResponsibilityProgram,arem adetotheclerkofthecourt.
  Thedefendantshallreceivecreditforal1paymentspreviouslym adetowardanycriminalmonetarypenaltiesim posed.
  Thisassessment/fine/restitution ispayabletothe CLERK ,UNITED STATES COURTS and isto be addressed to:

  U.S.CLERK'S O FFICE
  ATTN:FINANCIAL SECTION
  4B0 NO RTH M IAM IAVENUE,RO OM 08N09
  M IAM I,FLORIDA 33128-7716
  Jointand Several
  DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmount,
  and corresllonding payee,ifappropriate.
             -                                                       -.-
                                                                                                                 -
                       - - - -            ..-         ..-
           -
 CASE NUM BER                                                                               JOINT AND SEVERAL
 DEFENDANT AND CO-DEFENDANT NAM ES                                  TO TAL AM OUNT          AM O UNT
 (INCLUDING DEFENDANT NUM RER)

   Paymentsshallbeappliedinthefollowingorder;(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)tlneprincipal,
   (5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costssincludingcostofprosecution andcourtcosts.
